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                                    December 6, 2020



The Honorable Colm F. Connolly
J. Caleb Boggs Federal Building
844 N. King Street, Unit 31, Room 4124
Wilmington, DE 19801-3555

         RE:      Uniloc USA, Inc. and Uniloc Luxembourg, S.A., v.
                  Motorola Mobility LLC, C.A. No. 17-1658 (CFC)

Dear Judge Connolly:

        On December 11, 2018, Plaintiffs, Uniloc Luxembourg, S.A. and Uniloc USA,
Inc., filed a Motion to Substitute Uniloc 2017 as Plaintiff. (D.I. 50). Shortly thereafter,
Defendant, Motorola Mobility LLC (“Motorola”), filed its Motion to Dismiss for Lack
of Subject Matter Jurisdiction based on Plaintiffs’ lack of constitutional standing at the
time suit was filed on November 15, 2017. (D.I. 56). Pursuant to D. Del. LR 7.1.2(b),
Motorola files this notice of subsequent authority relevant to its Motion.
       On Friday, December 4, 2020, Judge Alsup of the Northern District of
California granted a pending Motion to Dismiss for Lack of Standing by Apple, Inc.,
and denied Uniloc Luxembourg’s and Uniloc USA’s Motion to Join Uniloc 2017
because “[Plaintiffs’] patent licensing scheme divested them of exclusionary rights
and, thus, of Article III standing.” A copy of that opinion is enclosed herewith for the
Court’s reference (Ex. 1).
       Although not binding on this Court, as the parties have previewed in the past,
Apple’s motions, and thus Judge Alsup’s Order, are based on roughly the same set of
facts as Motorola’s pending Motion to Dismiss. This particular Order was entered in a
case on a different patent, but it was likewise one of those that Uniloc Luxembourg
received from Hewlett-Packard on May 16, 2017. (D.I. 56, Ex. K at
UNILOC_MOTO_1658_4064).
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                                    Respectfully,



                                    Jeremy A. Tigan (#5239)

JAT/rs
cc: Clerk of Court (by hand delivery)
      All Counsel of Record (by e-mail)
